
Leave to appeal granted on appellant’s application was predicated on an implied severance of that portion of the order of the Appellate Division that affirmed the award of summary judgment in favor of defendant on its counterclaims and was necessarily limited to review of that portion of the order. Insofar as the order dismissed an appeal from the order of Supreme Court, entered November 10, 1977, denying a motion for reargument — incorrectly termed a motion for renewal — the Appellate Division’s disposition involves a ques*960tion of discretion of the type not reviewable by the Court of Appeals. (Matter of Williams &amp; Geiger v Edelman, Berger, Peters &amp; Koshel, 39 NY2d 1034.) [See 45 NY2d 772.]
